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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA                 FILED B'h k✓W D.C.

                                  CASE NO. 22-MJ-8332-BER
                                                                                /
                                                                                 AUG 11 2022

   IN RE SEALED SEARCH WARRANT                             FILED

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                          MOTION TO SEAL NOTICE OF FILING

          The United States of America moves the Court to place under seal, until further

   order of the Court, the Notice of Filing of Redacted Documents, and the attachment to that

   notice, filed on August 11, 2022. In support of the Motion, the government states:

          1.     Courts have inherent power to control access to papers filed with the courts.

   Nixon v. Warner Communications, Inc., 435 U .S. 589, 598 (1978). Courts have traditionally

   been "highly deferential to the government's determination that a given investigation

   requires secrecy and that warrant materials be kept under seal." Times Mirror Co. v. United

   States, 873 F .2d 1210 (9th Cir. 1989). Therefore, courts have routinely granted government

   requests to seal warrant materials where there is a need for secrecy. See Washington Post v.

  Robinson, 935 F .2d 282, 289 (D.C. Cir. 1991).

          2.     The Court previously granted the government's motion to seal the search

   warrant signed on August 5, 2022, and materials associated with that warrant (DEl) . The

   document filed with the government's Notice consists of the search warrant signed and

   approved by the Court on August 5, 2022, including Attachments A and B, and the redacted

   Property Receipt listing items seized pursuant to the search, filed with the Court on August

   11 , 2022 . Because the unredacted original versions of these documents are subject to the


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   Court's earlier order, the government respectfully requests that the Court seal the Notice

   and attachment.

          3.     In addition, the government requests that the sealing Order permit disclosure

   of the Notice and its attachment to counsel for former President Donald J. Trump, who

   may seek to intervene in pending litigation concerning the unsealing of these materials .

                                         CONCLUSION

          WHEREFORE, for these reasons , the United States of America respectfully requests

   that the Court issue an Order sealing (except to the limited extent specified herein) the

   Notice of Filing of Redacted Documents and its attachment.



   Dated: August 11, 2022                            Respectfully submitted,




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